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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                        No. CV-22-02107-PHX-SMB
10                 Plaintiff,                         ORDER
11   v.
12   Douglas A Ducey, et al.,
13                 Defendants.
14
15           The Federal Rules of Civil Procedure and the Local Rules of Civil Procedure
16   apply to all proceedings in this case. Pursuant to Rule 4(m) of the Federal Rules of Civil

17   Procedure, you must serve each Defendant in your case with the Summons and
18   Complaint within 90 days from the date the Complaint is filed, unless you obtain a

19   waiver of service pursuant to the requirements of Fed. R. Civ. P. 4(d). If, for good

20   reason, you cannot serve your Summons and Complaint on a Defendant within 90 days,
21   you may, prior to the expiration of the 90-day period, file with the Court a request for an
22   extension of time in which to serve your Summons and Complaint. In that request, you

23   should set forth the reason why you have not accomplished service and request a specific

24   short period of time in which to accomplish such service on any Defendant. If the Court

25   believes your reason constitutes “good cause” it will authorize a brief additional period in

26   which you can the serve the Defendant.
27           If you do not obtain an extension and any Defendant named in your Complaint is
28   not served within 90 days, the Court is obliged, after notice to you, to dismiss the
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 1   Complaint without prejudice (meaning that your Complaint is dismissed but you may
 2   refile the Complaint in a new action if you wish to do so).
 3          The only way that the Court knows that you have served the Defendant is that, the
 4   person who serves the Defendant with the Summons and Complaint is required,
 5   according to the rules, to file an affidavit with the Court which proves that the Defendant
 6   was served in compliance with Fed. R. Civ. P.4(l). Therefore, you need to be sure that,
 7   prior to 90 days from the date on which you filed your Complaint, whoever serves the
 8   Summons and Complaint on each Defendant files an affidavit with this Court
 9   demonstrating that they accomplished proper service.
10          THIS CONSTITUTES YOUR NOTICE UNDER RULE 4(m) THAT IF YOU
11   HAVE NOT APPROPRIATELY SERVED ANY DEFENDANT WITHIN 90 DAYS
12   FROM THE FILING OF YOUR COMPLAINT THAT DEFENDANT WILL BE
13   DISMISSED WITHOUT PREJUDICE FROM YOUR LAWSUIT.
14          IT IS HEREBY ORDERED directing the Clerk of Court to terminate any or all
15   Defendants in this matter, without further notice, that have not been served within the
16   time required by Fed. R. Civ. P. 4(m) on March 14, 2023.
17          Dated this 14th day of December, 2022.
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